                   Case
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                                                                                                    D. Conn.
                                                                                                  20-cv-1555
                                                                                                      Hall, J.

                               United States Court of Appeals
                                                     FOR THE
                                             SECOND CIRCUIT
                                             _________________

            At a stated term of the United States Court of Appeals for the Second Circuit,
      held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the
      City of New York, on the 5th day of October, two thousand twenty-one.

      Present:
                     Debra Ann Livingston,
                           Chief Judge,
                     Dennis Jacobs,
                     Steven J. Menashi,
                           Circuit Judges.

      State of Connecticut, by its Attorney General, William M. Tong,

                                     Plaintiff-Appellee,

                     v.                                                             21-1446

      Exxon Mobil Corporation,

                                     Defendant-Appellant.


      Appellant moves to stay the district court’s remand order pending this appeal. Upon due
      consideration, it is hereby ORDERED that the motion is GRANTED because Appellant has made
      a sufficient showing that it is entitled to a stay. See Nken v. Holder, 556 U.S. 418, 434–35 (2009);
      U.S. Sec. & Exch. Comm’n v. Citigroup Glob. Mkts. Inc., 673 F.3d 158, 162 (2d Cir. 2012).
      Appellee is directed to file its brief in response to Appellant’s brief within 30 days of the date of
      this order. Appellant is directed to file its reply brief no later than 10 days after Appellee’s brief
      is filed.

                                                     FOR THE COURT:
                                                     Catherine O’Hagan Wolfe, Clerk of Court




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